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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

   v.
                                                   Case No. 1:25-MJ-00091
 ELIAS RODRIGUEZ,

        Defendant.


                          NOTICE OF ATTORNEY APPEARANCE

         The United States of America, through undersigned counsel, hereby informs the Court that

Assistant United States Attorney Jeffrey Nestler is entering his appearance in the above-captioned

matter as counsel for the United States.

                                                   Respectfully submitted,

                                                   JEANINE FERRIS PIRRO
                                                   UNITED STATES ATTORNEY

                                               By: /s/ Jeffrey Nestler
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